Case 6:15-cr-02028-LRR-KEM   Document 36   Filed 09/22/15   Page 1 of 8
Case 6:15-cr-02028-LRR-KEM   Document 36   Filed 09/22/15   Page 2 of 8
Case 6:15-cr-02028-LRR-KEM   Document 36   Filed 09/22/15   Page 3 of 8
Case 6:15-cr-02028-LRR-KEM   Document 36   Filed 09/22/15   Page 4 of 8
Case 6:15-cr-02028-LRR-KEM   Document 36   Filed 09/22/15   Page 5 of 8
Case 6:15-cr-02028-LRR-KEM   Document 36   Filed 09/22/15   Page 6 of 8
Case 6:15-cr-02028-LRR-KEM   Document 36   Filed 09/22/15   Page 7 of 8
Case 6:15-cr-02028-LRR-KEM   Document 36   Filed 09/22/15   Page 8 of 8
